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11                                    UNITED STATES DISTRICT COURT
12                                 NORTHERN DISTRICT OF CALIFORNIA
13                                        SAN FRANCISCO DIVISION
14   UNITED STATES OF AMERICA,                           CASE NO. 17-CR-00093-WHA
15           Plaintiff,                                  [PROPOSED] IMMUNITY ORDER
16      v.                                               Pretrial Conf.: May 25, 2022
17   BURTE GUCCI RHODES,                                 Time:           12:00 p.m.
     a/k/a “Moeshawn,”
18                                                       Trial Date:    June 6, 2022
             Defendant.                                  Time:          7:30 a.m.
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21           On motion of STEPHANIE M. HINDS, United States Attorney for the Northern District of
22 California, the Court hereby finds and orders as follows:

23           1.      Mario Lee Robinson, Jr. may be called to testify or provide other information before the
24 court in the trial of defendant Burte Gucci Rhodes in this matter; and

25           2.      In the judgment of the United States Attorney, Mario Lee Robinson, Jr. has refused or is
26 likely to refuse to testify or provide other information on the basis of his Fifth Amendment privilege

27 against self-incrimination; and

28           3.      In the judgment of the United States Attorney, the testimony or other information to be
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 1 obtained from Mario Lee Robinson, Jr. may be necessary to the public interest; and

 2          4.      The motion filed here has been made with approval of the designate of the Assistant

 3 Attorney General in charge of the Criminal Division of the Department of Justice, pursuant to the

 4 authority vested in her by 18 U.S.C. § 6003 and 28 C.F.R. 0.175;

 5          IT IS THEREFORE ORDERED pursuant to 18 U.S.C. § 6002 that Mario Lee Robinson, Jr. shall

 6 testify under oath and provide other information which he refuses to give or provide on the basis of his

 7 Fifth Amendment privilege against self-incrimination, and shall do so as to all matters about which he

 8 may be interrogated before the grand jury or in any further proceedings resulting therefrom or ancillary

 9 thereto;

10          IT IS FURTHER ORDERED that the testimony and other information compelled from Mario

11 Lee Robinson, Jr. pursuant to this order, and any information directly or indirectly derived from such

12 testimony or other information may not be used against him in any criminal case, except a prosecution

13 for perjury, false declaration, or otherwise failing to comply with this order.

14          IT IS FURTHER ORDERED that this order shall become effective only if, after the date of this

15 order, Mario Lee Robinson Jr. refuses to testify or provide other information on the basis of his Fifth

16 Amendment privilege against self-incrimination.

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     DATED: June 6, 2022                                         ________________________
18                                                               WILLIAM ALSUP
                                                                 UNITED STATES DISTRICT JUDGE
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     ORDER RE: TESTIMONY
